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Case 4:09-cr-00043-SPF Document 75-2 Filed inU.S.Departn
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                  RECEIVED.                    United States Attorney
                                               W«rtem District of Missouri

                   U.S. ATTORNEY
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                                               September          25, 1996



    Mr. Neal Kirkpatrick
    Assistant United States Attorney
    suite 3460 U.S. Courthouse
    333 W. 4th Street
    Tulsa, OK   74103


                              Re: Lindsey   Kent springer


    Dear Mr. Kirkpatrick:

          Pursuant to our conversation of this date, enclosed please
    find a copy of the transcript of Lindsey Kent Springer's
    testimony before the federal grand jury in Springfield, Missouri.
    This disclosure is being made to you pursuant to Rule
    6(e) (3) (A) (i).
          In the event that the transcript is disclosed to other
    government personnel, please advise me accordingly so that I can
    file the appropriate notice with the court pursuant to Rule
    6(e)(3) (A) (ii). I have enclosed a disclosure form for that
    purpose.

           If you have any questions,       please    do not hesitate          to contact
    me.



                                                      Very truly yours,
                                                      Stephen L. Hill, Jr.


                                                     ~~           ;?tss Attorney
                                               by     David C. ~
                                                      Assistant u. S. Attorney



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